             Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 1 of 29



                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA




 BRIAN J. KAREM
 2706 Media Center Drive
 Los Angeles, CA 90065

 Plaintiff,

       v.

 DONALD J. TRUMP,
 in his individual capacity and official capacity as
 President of the United States
 1600 Pennsylvania Avenue NW
 Washington, DC 20500;                                      Case No.

 and

 STEPHANIE A. GRISHAM,
 in her individual capacity and official capacity as
 White House Press Secretary
 1600 Pennsylvania Avenue NW
 Washington, DC 20500,

 Defendants.




                                          COMPLAINT

        Plaintiff Brian James Karem, for his complaint against Defendants Donald J. Trump and

Stephanie A. Grisham, alleges, by and through his attorneys, as follows:


                                        INTRODUCTION

        1.      Plaintiff Brian James Karem is an award-winning journalist who has reported on

politics for over thirty years. Karem has covered the White House under six different

Presidents. He currently serves as the senior White House correspondent for Playboy and as a


                                                 1
            Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 2 of 29



political analyst for CNN. Karem is known for his fiercely independent, aggressive, and unsparing

coverage of those who exercise government power—including those in the current

Administration. He is the President of the Maryland, Delaware, and District of Columbia Press

Association and an outspoken defender of the First Amendment. He won the National Press

Club’s Freedom of the Press Award after he chose to go to jail rather than disclose the identity of

a confidential source.

       2.      This case arises from events that occurred in the White House’s Rose Garden on

July 11, 2019 and were captured on numerous videos that have been widely circulated. On that

day, the President convened a “Social Media Summit” for 200 conservative bloggers and various

social media celebrities who have been supportive of the President. It was a colorful and eclectic

and controversial group of Trump social media loyalists whose voices the White House was

seeking to amplify, and the post-summit gathering in the Rose Garden was spirited. During the

summit, the President praised the group of what he called “journalists and . . . influencers” for

supporting and “working with” his Administration, declaring triumphantly that “the crap you think

of … is unbelievable.” As the Rose Garden event concluded and the President began to leave,

Karem asked if he would be willing to entertain questions. The President did not respond and

returned into the White House. At that point, the conservative social media activists taunted the

White House press. One responded to the White House journalists who tried to question the

President, “He talked to us, the real news.” Another turned on Karem and began taunting him for

having been rebuffed by the President, saying “Don’t be sad, don’t be sad.” Karem sought to

defuse the situation with humor. He remarked, “This a group of people that are eager for demonic

possession”—a comment that elicited laughter throughout the crowd. One member of the

audience, however, reacted differently.




                                                2
            Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 3 of 29



       3.      Sebastian Gorka is a conservative commentator who was an editor at Breitbart

News and served briefly in the Trump Administration, leaving, reportedly, after his security

clearance was revoked. He is a controversial figure. He was once arrested for bringing a gun to a

Reagan National Airport security checkpoint and has a reputation for being aggressive towards

journalists. In 2018, he was videotaped shoving a Mediaite reporter at the Conservative Political

Action Conference. Gorka attended the Social Media Summit as an invited guest of the White

House. When he heard Karem’s comment, he acted as though it incensed him, yelling at Karem

in a fury across the Rose Garden, asking him if he was a “journalist,” while making air quotes with

his hands. Karem tried to de-escalate the situation, inviting Gorka to “come on over here and talk

to me, brother, or we can go outside and have a long conversation.” Karem’s words did not pacify

Gorka. He made a beeline for Karem, marching rapidly across the Rose Garden to confront the

journalist, who remained in the press area behind the rope line. Gorka loudly accused Karem of

“threatening” him, and hollered in his face, “You are a punk! You’re not a journalist! You’re a

punk!” The crowd of conservative activists began cheering, “Gorka! Gorka!” One woman yelled,

“Hit him, Gorka! Hit him!” One attendee loudly stated to Karem, “Just for the record, [Gorka]

would kick your punk ass.” When it was over, Gorka and the President celebrated Gorka’s attack

on Karem. Gorka declared on his podcast that he “took on the fake news industrial complex” and

on Twitter that he “read [Karem] the riot act.” The President wrote on Twitter that Gorka “wins

big—no contest!”—a tweet that Gorka has now pinned to the top of his Twitter page.

       4.      More than three weeks later, with no forewarning she was even thinking of

imposing punishment for his conduct of July 11, White House Press Secretary Stephanie Grisham

sent Karem a letter, advising that she had made a “preliminary decision,” approved by the

President, to suspend Karem’s hard pass for 30 days. A hard pass is the credential that gives




                                                3
            Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 4 of 29



journalists access to the White House. Without a hard pass, it is effectively impossible to do the

job of White House correspondent. The ostensible basis for the suspension was that Karem had

insulted guests at the Social Media Summit, and had “escalated” the conflict with Gorka. On

August 16, Grisham announced that her decision was final, claiming that Karem had violated

unpublished yet purportedly “widely-shared understandings and norms of media professionalism.”

Grisham did not indicate that her “final” decision was approved by the President.

       5.      This Court should vacate the suspension and order that Karem’s hard pass be

immediately restored. The suspension is arbitrary, unlawful, and unconstitutional.

       6.      The suspension violates the Due Process Clause of the Fifth Amendment. As the

D.C. Circuit has made very clear, the White House may deny, revoke or suspend a press pass based

only on “explicit and meaningful standards” that have been “publish[ed]” so as to afford fair notice

to reporters, and to avoid arbitrary or discriminatory punishments. Sherrill v. Knight, 569 F.2d

124 (D.C. Cir. 1977). Here, Ms. Grisham did not cite any legal authority authorizing her to order

the suspension of a hard pass and admitted that Mr. Karem did not violate any published rule or

standard; instead, she rested the suspension on his purported violation of what she claimed were

generic unwritten “understandings.” Moreover, these unwritten understandings—that reporters

maintain “decorum” and “professionalism”—are too ill-defined, subjective and vague to satisfy

the due process standards articulated by the D.C. Circuit in Sherrill. Moreover, Karem lacked fair

notice of such standards because the President has regularly breached any standard of “decorum”

by insulting, demeaning, and yelling at journalists at the White House and elsewhere. In addition,

Grisham stated that the purported standards she relied on apply only to “press events,” but she

admitted that “Mr. Karem’s conduct occurred after the press event had ended.”




                                                 4
            Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 5 of 29



       7.      Defendants also deprived Karem of a fair opportunity to rebut the charge against

him, and the “process” invoked does not comport with the only process established to govern hard

passes and that is reflected in the Secret Service regulations promulgated to comport with Sherrill.

See 31 C.F.R. §§ 409.1, 409.2. Grisham’s “preliminary” decision was nothing of the sort; it was

for all intents and purposes final because it was approved by the President, and was made without

giving Mr. Karem any chance to respond. Nor was Karem given a fair opportunity to challenge

the preliminary decision, as Grisham is a biased decision maker who works for a President at war

with what he calls the “Lamestream media” that are the “enemy of the people.” She gave Mr.

Karem an unreasonably short time to respond given the important liberty and property rights at

stake and then refused to share with him all of the evidence she relied on in imposing the

suspension or even to define the scope of his rights in the process.

       8.      The suspension also violates the First Amendment. Grisham does not (and cannot)

cite any “compelling reason” that justifies Mr. Karem’s suspension, rendering it unconstitutional

under Sherrill. 569 F.2d at 129. And in light of the arbitrary nature of Grisham’s actions and

against the backdrop of the President’s open hostility to the press, the suspension is clearly meant

to punish and deter his reporting on the Administration rather than based on anything he said in

the Rose Garden in July. As such, the suspension is an impermissible content-based regulation of

speech, and an attempt to censor the press and exclude from the White House reporters who

challenge and dispute the President’s point of view.

       9.      The D.C. Circuit has held that “the protection afforded newsgathering under the

first amendment’s guarantee of freedom of the press requires that . . . access [to White House press

facilities] not be denied arbitrarily or for less than compelling reasons.” Sherrill, 569 F.2d at

129. Karem brings this action to enforce this constitutional guarantee and to vindicate our




                                                 5
            Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 6 of 29



“profound national commitment to the principle that debate on public issues should be uninhibited,

robust, and wide-open, and that it may well include vehement, caustic, and sometimes unpleasantly

sharp attacks on government and public officials.” N.Y. Times v. Sullivan, 376 U.S. 254, 270

(1964).

                                              PARTIES

          10.   Plaintiff Brian James Karem is the senior White House correspondent for Playboy

magazine and a political analyst for Cable News Network, Inc. (“CNN”).

          11.   Defendant Donald J. Trump is the President of the United States. He is sued in his

official capacity and his individual capacity.

          12.   Defendant Stephanie A. Grisham is the White House Press Secretary. She is sued

in her official capacity and her individual capacity.

                                  JURISDICTION AND VENUE

          13.   This Court has subject-matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331.

          14.   Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and (e)(1). A

substantial part of the events giving rise to this claim occurred in this District, and Defendants are

officers of the United States sued in their official capacities.

                                                 FACTS

          15.   Plaintiff Karem is a journalist with over thirty years of experience as a political

reporter. Over the course of his career, he has covered wars, international terrorism, natural

disasters, and other major events; has worked as an investigative journalist for both newspaper and

television; and has covered six presidential administrations, beginning in 1986 with President

Reagan.



                                                   6
          Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 7 of 29



       16.     Karem began working as a journalist at WKYT-TV in Lexington, Kentucky and at

KMOL-TV in San Antonio, Texas. In 1990, Karem was imprisoned for contempt of court after

refusing to disclose the name of confidential sources who helped him arrange a telephone interview

with a jailed murder suspect, after which he was awarded the National Press Club’s Freedom of

the Press award. He was the first American reporter allowed inside Pablo Escobar’s prison outside

of Bogota, Colombia following Escobar’s escape, and was one of the first reporters to enter Kuwait

City after its liberation during the first Gulf War. Karem has also worked at the Courier Journal

in Louisville, the Louisville Times, the Indianapolis Star, and People Magazine. He was executive

editor of The Sentinel Newspapers in Maryland and as producer and television correspondent for

America’s Most Wanted.

       17.     Karem is currently the senior White House correspondent for Playboy magazine,

for which he regularly covers presidential press conferences. Karem is also a political analyst for

CNN and hosts the Just Ask the Question podcast.

       18.     Like Karem, Playboy, Karem’s principal employer, also has a long history of

fighting for and advocating for First Amendment rights. In 2000, Playboy convinced the Supreme

Court to invalidate a section of the Telecommunications Act of 1996 that limited the transmission

of sexually-oriented channels as an impermissible content-based restriction. See United States v.

Playboy Entm’t Grp., Inc., 529 U.S. 803 (2000). Playboy founder Hugh Hefner was also a well-

known champion of free speech, publishing Fahrenheit 451 in serialized form in Playboy in 1954,

and later starting the Hugh M. Hefner Foundation, a non-profit organization committed to the

support of First Amendment freedoms.

       19.     Karem is a member of the White House press corps, a group of reporters who cover

the President, the White House, and executive functions in Washington, around the country, and




                                                7
          Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 8 of 29



around the world. White House reporters ensure that the public knows what is happening within

the executive branch and that federal officials remain accountable to the public.

       20.     Karem is known for defending journalists and First Amendment freedoms, and for

his tough questioning of the current Administration. On June 14, 2018, Karem had a widely

reported exchange with then-White House Press Secretary Sarah Huckabee Sanders in the White

House briefing room when, in response to a question from CNN reporter Jim Acosta about the

detention of immigrant children, Sanders stated that it is “biblical to enforce the law.” Karem

followed up by asking Sanders whether she had empathy for the children, given that she herself is

a parent. Later that day, Fox News host Jesse Watters said that Karem and Acosta “don’t belong”

in the briefing room and that the White House “need[s] to start ripping press passes away.”

       21.     Karem’s reporting and political analysis—in Playboy, on CNN, and in other

outlets—has regularly been critical of the Trump Administration. For example, on June 18, 2019,

Karem wrote an article critiquing Sanders’s tenure upon her departure from the White House.

Karem wrote that she “lied to the public . . . proudly and with impunity” and “was never qualified

to hold the post of Press Secretary. She is naïve, inexperienced and didn’t know the purpose of

the office or how to deal with the press in a functional way.” Karem has also been critical of the

Administration in televised appearances on CNN Tonight with Don Lemon and MSNBC’s Morning

Joe.

                                The Importance of a Hard Pass

       22.     In 2018, Karem sought and obtained White House press credentials and a security

clearance in order to obtain what is called a “hard pass.” Karem underwent a Secret Service

background check and was granted a hard pass, which is valid for renewable two-year periods.




                                                8
             Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 9 of 29



           23.   A hard pass is essential for White House reporters because it provides access to the

White House grounds and press complex, to Air Force One, and to other secured areas during

presidential trips, which are routinely covered by the White House press corps. Without this

credential, a White House correspondent like Karem cannot do his or her job.

           24.   The hard pass allows immediate access to the White House grounds and its press

offices. Without a hard pass, a reporter must ask for advance approval each time he or she wishes

to enter the White House. Such access often needs to be requested at least 24 hours in advance.

Since many White House news events, briefings, or appearances are frequently announced day-of,

reporters without a hard pass are effectively unable to cover these events. This is especially true

in the Trump Administration, which has done away with the daily briefing and not held a formal

news conference for months. Further, the White House may decline to admit a reporter requesting

daily access. Even if admitted, the reporter must wait in a security line with the general public and

be screened before entering the White House and then be escorted by security around the press

offices.

           25.   A hard pass thus enables a reporter to cover fast-developing, important news stories

at the White House. Without a hard pass, a reporter may well miss newsworthy events, particularly

the many important events that occur on short notice. A hard pass is tantamount to a job

requirement for a White House correspondent: the job simply cannot be done without one.

                             President Trump’s Attacks on the Press

           26.   This suspension of Karem’s hard pass occurred against the backdrop of the

President’s ridicule of, and vocal support for confrontations with, the press. He frequently calls

the free press “fake news,” “the enemy of the people,” and “the opposition party.” In fact, he

tweeted the first two of those insults at the press on August 16, 2019, the day Grisham announced




                                                  9
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 10 of 29



her “final determination” to suspend Karem’s pass. On August 18, 2019, he further tweeted,

“‘Journalism’ has reached a new low in the history of our Country. It is nothing more than an evil

propaganda machine for the Democrat Party. The reporting is so false, biased and evil that it has

now become a very sick joke...But the public is aware! #CROOKEDJOURNALISM.” By one

study’s count, “over 11 percent” of the President’s tweets have “insulted or criticized journalists

and [news] outlets.” The President has previously explained why he attacks and demeans the

press: “You know why I do it? I do it to discredit you all and demean you all so when you write

negative stories about me, no one will believe you.”

       27.     The President has repeatedly made clear his dislike of CNN, one of Karem’s

employers. For example, at a news conference on January 11, 2017, then-President-elect Trump

told CNN’s Acosta, “Your organization is terrible.” On February 17, 2017, he stated that “the

FAKE NEWS media (failing @nytimes, @NBCNews, @ABC, @CBS, @CNN) is not my enemy,

it is the enemy of the American people!” On July 2, 2017, he tweeted a video depicting him

tackling and punching a man with a CNN logo superimposed on his face, adding the comments

“#FraudNewsCNN” and “#FNN.” On December 11, 2017, he published a tweet calling CNN

“Fake News” and called one CNN journalist “the ‘dumbest man on television!’” On June 13,

2018, he tweeted, “Crazy Jim Acosta of Fake News CNN.” On July 13, 2018, at a press conference

in England, in response to Acosta’s attempt to ask a question, the President stated, “CNN is fake

news, I don’t take questions from CNN.” At a campaign rally on August 30, 2018, he complained

about CNN’s coverage and said that CNN and its reporters are “just dishonest, terrible people.”

Also in August 2018, President Trump barred CNN White House correspondent Kaitlan Collins

from attending a Rose Garden press conference in retaliation for asking questions the President

deemed impertinent. And on November 7, 2018, during a White House press conference, the




                                                10
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 11 of 29



President inveighed against CNN, telling Acosta, “I think you should let me run the country. You

run CNN. And if you did it well, your ratings would be much better,” and “[w]hen you report fake

news, which CNN does, a lot, you are the enemy of the people.” After that press conference, the

White House sought to revoke Acosta’s hard pass but was enjoined from doing so by this Court

on due process grounds.

       28.    The President has publicly resisted and rebuffed tough questioning by Karem. On

February 21, 2019, after Karem asked the President where he got his statistics about border

violence, Trump told Karem: “Sit down. Sit down. Sit down!” A few months later, on June 11,

2019, when Karem tried to ask the President a question, Trump turned and glared at Karem and

said, “Quiet! Quiet! Quiet!” On July 24, 2019, the President called Karem and other journalists

“fake news” while pointing his finger at Karem.

       29.    President Trump has also repeatedly expressed support for physical retaliation

against and punishment of journalists whose reporting he dislikes. For example, in October 2018,

he praised Republican congressman Greg Gianforte for body-slamming Guardian reporter Ben

Jacobs, calling Gianforte a “tough cookie” and “my kind of guy.” In February 2019, President

Trump banned four American journalists from the Associated Press, Reuters, the Los Angeles

Times, and Bloomberg News from covering his dinner with North Korean dictator Kim Jong Un,

purportedly because they had shouted questions at previous meetings with the President. In June

2019, President Trump told a Time magazine journalist who tried to photograph a letter that

President Trump said was hand written by Kim Jong Un: “You can go to prison . . . if you use the

photograph you took of the letter.” He recently joked in a meeting with Vladimir Putin—who has

reportedly ordered the murder of journalists—at the G20 summit in Japan about “get[ting] rid of”

journalists. And he refused to condemn the murder and dismemberment of Washington Post




                                              11
          Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 12 of 29



columnist Jamal Khashoggi, which American intelligence officials have concluded was ordered

by Saudi Crown Prince Mohammed Bin Salman.

         30.   Reporters are frequently the targets of ridicule and threats of physical violence at

President Trump’s rallies and campaign events, often with the President’s encouragement. Just

last week, at a rally in New Hampshire, the President launched broadsides at the media, with the

crowd directing their middle fingers at the journalists after each attack. Beyond mere taunts and

insults, the President’s supporters have actually attacked and spat on journalists at campaign

rallies, and one even sent a bomb to CNN. A statement from the United Nations expressed concern

that the President’s rhetoric has “increase[d] the risk of journalists being targeted with violence.”

Karem has experienced this first-hand; he and his CNN colleague Acosta were once threatened by

a Trump supporter while covering one of the President’s rallies in West Virginia. And Karem and

his family have received numerous threats, especially in the weeks since the July 11 Rose Garden

event.

         31.   President Trump has a history of using the revocation or threatened revocation of a

hard pass to try to stifle speech and reporting he does not like. On November 7, 2018, President

Trump and his Press Secretary revoked Jim Acosta’s hard pass after Acosta questioned the

President about comments he had made suggesting immigrants from Central America were

“inva[ding]” the country. Acosta’s hard pass was restored only after he filed suit in this District

and obtained a temporary restraining order. On November 9, 2018, President Trump warned that

there could be “others also” whose press passes would be revoked. The suspension of Karem’s

hard pass is now part of a pattern.




                                                 12
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 13 of 29



                              The July 11, 2019 Rose Garden Event

        32.     On Thursday, July 11, 2019, President Trump hosted a “Social Media Summit” at

the White House, attended by approximately 200 conservative social media activists, whom the

President called “online journalists and influencers,” who were supportive of the Administration,

including Sebastian Gorka, a conservative radio host and former White House advisor. While only

a portion of the summit was open to the White House press “pool,” the White House announced

that the President would hold an open press conference in the Rose Garden at the conclusion of

the summit.

        33.     Although billed as a “Social Media Summit,” no one from the largest social media

platforms – Twitter, Facebook and Google – attended the event. Instead, according to a National

Public Radio report, “the guest list included far-right extremists, many of whom use the Internet

to try to spread false conspiracy theories and racist tropes.” A White House correspondent for the

New York Times commented, “It was the closest thing to a campaign rally that I have seen inside

the White House.” According to another press report, the President stated to the “200 conservative

social media firebrands” in attendance that “[t]he crap you think of . . . is unbelievable.” Regarding

the press, the President explained that he did not “think that the mainstream media is free speech

. . . because it’s so crooked. It’s so dishonest.”

        34.     The President’s invited guests included a social media activist who goes by “Carpe

Donktum” and creates fake videos to attack the President’s enemies; one who recently tweeted

that Senator Kamala Harris is “*not* an American Black” because she “is half Indian and half

Jamaican” (which the President’s son retweeted); and others with ties to white nationalists.

        35.     Karem used his hard pass to enter the White House as he does most days the

President is in town. He stayed to attend the scheduled press conference.




                                                     13
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 14 of 29



       36.     After the event concluded, President Trump appeared in the Rose Garden with the

Attorney General. The “Social Media Summit” attendees were seated in rows of chairs assembled

facing the podium, while the White House press corps was directed to stand in roped-off areas

behind and adjacent to them. As Gorka entered the Rose Garden along with the other social media

activists, he demeaned the assembled journalists arrayed behind the rope line, loudly proclaiming

“Fake news panorama” as he took a photograph of them.

       37.     Although reporters had been told the President would hold a press conference, he

did not. Instead, after he and the Attorney General had delivered prepared statements, they turned

to leave. Karem called out to the President, asking if he would take questions. But the President

ignored his request and walked back into the White House.

       38.     At this point, the press event was over and people began to leave. But some of the

activists began taunting Karem for having his request rebuffed. One said: “He talked to us, the

real news.” Another activist, singer Joy Villa, said to Karem, “If you weren’t fake news, [the

President] would have taken questions; try not being fake news.” (In a later interview, Villa

bragged that she had “started the mess” that ensued by taunting Karem.) Another attendee said

sarcastically to Karem, “Don’t be sad, don’t be sad,” mocking Karem in front of the assembled

press for having been ignored by the President.

       39.     Karem tried to defuse the situation with humor, doing his Rodney Dangerfield

impression and saying, “This a group of people that are eager for demonic possession,” while

smiling and saluting the group. As the many videos of the incident make clear, Karem’s joke was

well received by the assembled activists, many of whom laughed in response. Gorka then shouted

an insult at Karem from across the Rose Garden—“And you’re a ‘journalist,’ right?”—using air

quotes to mock Karem by suggesting that he was not a real journalist.




                                                  14
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 15 of 29



       40.     In response to Gorka’s shouted insult, Karem stated calmly, “Come on over here

and talk to me, brother, or we can go outside and have a long conversation.” Karem was suggesting

that, rather than having Gorka hurl insults at him across the Rose Garden in front of dozens of

people, he and Gorka could have a conversation at the rope line, where Karem was standing, or

outside the Rose Garden in a calmer environment. Over the years, Karem has found that people

act differently in public, especially in places where for political or other reasons they may feel as

though they are on stage and need to deliver a performance. But in a different and calmer

environment – a private conversation, or even a public conversation in a different forum, such as

on Karem’s podcast – people holding strongly divergent political views can often be much more

thoughtful, reasonable, and measured.

       41.     Karem’s suggestion that Gorka speak to him, or that they have a conversation

outside the politically charged environment, only further enraged Gorka, who charged across the

Rose Garden at Karem, shouting that Karem was “threatening” him. Karem calmly responded that

he had not made a threat and had said, “I’d be happy to talk to you.” Ignoring Karem’s clarification

and attempt to de-escalate the situation, Gorka approached to within a foot or two of Karem,

separated only by the rope line, and yelled at him, “You are a punk! You’re not a journalist!

You’re a punk!” According to nearby reporters, Andrew Feinberg and Ksenija Pavlovic McAteer,

spit was flying from Gorka’s mouth as he yelled at Karem. As Gorka screamed in Karem’s face,

Karem remained behind the rope line and calmly stood with his arms folded, demonstrating that

he had no interest in a physical confrontation. Below is a photograph of Gorka’s verbal attack.




                                                 15
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 16 of 29




       42.    As Gorka unleashed on Karem, the crowd of activists started cheering, “Gorka!

Gorka!” One woman yelled, “Hit him, Gorka! Hit him!” Fox News commentator Jim Hanson then

loudly exclaimed, “Just for the record, [Gorka would] kick your punk ass,” eliciting gasps and

laughter from the group.     Continuing to avoid violence, Karem responded to Hanson by

questioning “And that’s the measure of everything, isn’t it?” One reporter, Ksenija Pavlovic

McAteer, defended Karem, shouting: “You should not be attacking journalists like this!” And

“this is assault on the press!” After Gorka finished berating Karem and walked away, Karem said,

“Go home” and “get a job.”

       43.    The activists also heckled and insulted other White House journalists, including

CNN’s Acosta. For example, after Gorka screamed at Karem and walked away from the press

area where Karem was standing, Villa, identifying herself and the summit invitees as “citizen

journalists,” lectured the reporters from established news organizations, announcing that “fake

news is over” and “you gotta stop reporting fake news.” As Karem sought to engage in a civil

discussion with Villa about what constitutes legitimate journalism, another summit guest


                                              16
          Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 17 of 29



interrupted to falsely accuse Karem of having “threatened Gorka.” Karem made clear again that

had only said he wanted to “talk” to Gorka and had not threatened him, to which the individual

responded that Karem was “an embarrassment.”

        44.    On his way out of the Rose Garden, Gorka insulted another member of the White

House press, calling Voice of America’s White House Bureau Chief an “ass hat.”

        45.    Upon information and belief, no attendees at the event other than Karem suffered

any repercussions or discipline from the White House or the Secret Service following the event.

This includes Gorka, who was the instigator; Hanson, who announced to the crowd that Gorka

would “kick [Karem’s] punk ass;” the activists who clamored for Gorka to “hit” Karem; or any of

the “Summit” attendees who identified themselves, and were identified by the President, as

journalists.

        46.    As they filed out, Karem saw Gorka lingering in the Palm Room, and approached

him to resolve the situation and make peace. Karem offered to shake Gorka’s hand, but Gorka

rebuffed these efforts and refused to engage with Karem, other than insisting repeatedly that Karem

was “done.” When Gorka accused Karem again of having threatened to “fight” him in the Rose

Garden, Karem made clear that he had not done so and had merely “said I would talk to you.”

        47.    Gorka celebrated the confrontation, bragging on his podcast that he took on the

“fake news industrial complex” and on Twitter that he “read [Karem] the riot act.” In an interview,

he called on others to follow his “example” in confronting journalists. Karem has since received

threats against his life and those of his family.

        48.    The President, for his part, applauded Gorka and made light of the confrontation,

tweeting, “@SebGorka Wins Big, No Contest!” The tweet is now pinned at the top of Gorka’s

Twitter profile.




                                                    17
           Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 18 of 29



                 After a Three-Week Delay, Grisham Suspends Karem’s Hard Pass

       49.     Karem continued to cover the White House over the next three weeks. He entered

the White House using his hard pass numerous times and performed his job as usual, without

incident or anyone mentioning the events in the Rose Garden. Karem also asked questions of

President Trump and members of his staff on numerous occasions during that period.

       50.     Karem contacted Grisham’s office in the days after the July 11 event to schedule a

meeting and interview at which he planned to discuss what had happened and the steps she might

take to protect the journalists working in the White House. But Karem was told repeatedly that

the Grisham was unavailable.

       51.     On August 1, 2019, Karem asked the President to respond to presidential candidate

Bernie Sanders’s contention that the President was a pathological liar, a question the President

ignored.

       52.     At no point prior to August 2, 2019 did President Trump, Grisham, or any other

White House representative inform Karem that his hard pass was in jeopardy, that they were

considering punishing him, nor did they seek to discuss with Karem his conduct on July 11. None

of this Administration’s Press Secretaries or their staff had ever informed Karem that his conduct

at the White House violated any rules, standards, or norms in any way.

       53.     On August 2, 2019, Karem received a letter from Grisham stating that she had

“made a preliminary decision to suspend [his] hard pass for 30 days due to [his] conduct at the

press event in the Rose Garden on July 11, 2019.” Grisham added that “[t]he President is aware

of this preliminary decision and concurs.” The letter further purported to set forth the “factual

basis” for the preliminary decision.




                                               18
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 19 of 29



       54.     Grisham’s letter informed Karem that his “disruptive behavior at the press event in

the Rose Garden on July 11, 2019 violated the basic standards governing such events,” while also

conceding that the White House had not issued “a set of explicit rules . . . to govern behavior by

members of the press at White House press events.” Nonetheless, the letter claimed that “it had

previously been a widely shared understanding that (1) members of the press, at all times at White

House press events, must act professionally, maintain decorum and order, and obey instructions

from White House staff, and (2) disruptive behavior that interferes with the conduct of a press

event or is otherwise a breach of professional decorum—including but not limited to taunting other

members of the press, White House officials, or guests in an effort to provoke a confrontation—is

prohibited.” In fact, there has been no such widely shared understanding.

       55.     The letter identified as the factual bases for the suspension the allegations that

Karem (a) “openly insulted the President’s invited guests” through his “demonic possession”

comment, and (b) “verbally accosted Mr. Gorka in an apparent attempt to escalate your verbal

taunts to a physical confrontation” through his suggestion to Gorka that the two talk in the Rose

Garden or “go outside and have a long conversation.”

       56.     The numerous videos of the incident either refute or seriously undermine both

allegations. Karem clearly did not “verbally accost[]” Gorka or anyone else. Gorka was the

instigator who attempted to escalate the situation even in the face of Karem’s efforts to defuse the

tension and make peace. And Karem’s comically delivered “demonic possession” comment was

certainly not intended to be an “open[] insult,” nor was it perceived that way, as the lighthearted

laughter in response demonstrates.

       57.     Grisham’s letter gave Karem one business day to respond in writing.




                                                19
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 20 of 29



        58.    Gorka immediately celebrated the suspension on Twitter, thanking Defendants

“[o]n behalf of Americans who’ve had enough of FakeNews punks like @BrianKarem.”

        59.    On August 5, 2019, Karem’s counsel submitted a written response on his behalf,

informing Grisham of the constitutional violations that would result from the White House’s

suspension of Karem’s hard pass and requesting a meeting before any final decision would be

made.

        60.    On August 8, 2019 counsel for Karem met with Press Secretary Grisham and a

deputy White House counsel. At that meeting, the deputy White House counsel informed Karem’s

counsel that Grisham intended to rely on a witness statement obtained from a Secret Service

official who observed the July 11 events. The deputy White House counsel read aloud two

sentences from the Secret Service agent’s statement but refused to read the statement in its entirety,

to provide a copy of it, or to identify the agent. Grisham also confirmed that neither she, nor other

White House officials, spoke with any other witnesses to the July 11 events. Karem’s counsel

asked repeatedly what procedural rights Karem had in the process, but neither Grisham nor the

deputy White House counsel would or could identify any. Nor did they identify anyone else who

had suffered any repercussions as a result of the events on July 11, 2019.

        61.     On August 9, 2019, counsel for Karem submitted another letter to Grisham along

with a signed statement from Karem, providing his account of the events in the Rose Garden, and

confirming that he did not intend his comments to insult anyone or suggest a physical confrontation

with Gorka.

        62.    By letter on August 16, 2019, Grisham announced her “final determination” to

suspend Karem’s hard pass for 30 days, “effective immediately.” Grisham’s letter stated that the

suspension was a “sanction” intended to “punish[]” and “deter” Karem and other journalists.




                                                 20
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 21 of 29



        63.     The letter confirmed that Karem had not violated any explicit and meaningful

standards for conduct at press events, which Grisham admitted in her August 2 letter do not exist.

Rather, in the August 16 letter, Grisham asserted that Karem had violated purportedly “widely-

shared understandings and norms of media professionalism” requiring that “at White House press

events, members of the press must act professionally, maintain decorum and order, and obey

instructions from White House staff.” Contrary to Grisham’s assertion, no such “widely-shared

understandings” exist.

        64.     According to the letter, Karem “(1) insulted invited guests of the White House,

(2) threatened to escalate a verbal altercation into a physical one to the point that the Secret Service

deemed it prudent to intervene, and (3) re-engaged with Mr. Gorka in what quickly became a

confrontational manner while repeatedly disobeying a White House staffer’s instructions to leave.”

        65.     The letter relies on a skewed and erroneous second-by-second account of Karem’s

purported conduct, focusing on minute details such as Karem’s alleged “noticeably cocked

eyebrow,” in concluding that Karem violated the unwritten yet supposedly “widely-shared

understandings and norms of media professionalism.” Indeed, for all its exhaustive detail, the

letter misrepresents much of what occurred on July 11 and is squarely refuted by the numerous

videos of the event.

        66.     For example, the letter falsely claims that, after being berated by Gorka, Karem

“then left the designated press area and paced in front of other members of the press.” But as the

videos show, the press rope had fallen when Karem inadvertently stepped slightly beyond it, and

his menacing “pace” was actually a casual step or two in one direction following by a step or two

in the other as he was being heckled.




                                                  21
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 22 of 29



       67.     Grisham’s letter also claims that Karem’s conduct “prompted a Secret Service agent

to intervene due to a perceived risk of a physical altercation.” But as the videos make clear, the

Secret Service agent did not do anything when Karem made his purported threat (“we can go

outside and have a long conversation”), and intervened only after Gorka had shouted in Karem’s

face (“You’re a punk!”) and walked away. The agent began following Gorka, suggesting that he

thought Gorka was the risk. Only after Fox News contributor Jim Hanson made his vulgar

comment (“he’d kick your punk ass”), did the Secret Service agent turn around and walk back

towards Karem and engage him briefly in discussion as Karem had inadvertently taken a step over

the fallen rope. Karem then said something to the agent like, “It ain’t me, brother,” to which the

agent nodded in agreement.

       68.     Grisham further falsely accuses Karem of “renewing the confrontation” and

“repeatedly disobeying a White House staffer’s instructions to leave” when he tried to shake

Gorka’s hand and make peace inside the White House after the Rose Garden event. But Karem

was on his way out when he tried to shake Gorka’s hand and left within seconds, after his efforts

were rebuffed. While the staffer stated, “All press is leaving now,” there were no “instructions to

leave” that Karem could possibly have disobeyed.

       69.     That Grisham must rely on a 13-page analysis of Karem’s every movement,

comment, gesture, and facial expression in reaching her determination is a reflection of the absence

of any clear, published, pre-existing standards of conduct that Karem violated. In the absence of

such standards, the determination to suspend Karem’s pass came down to the unbounded post hoc

discretion of one person regarding what conduct amounts to a breach of “decorum,” eyebrow

movements and all.




                                                22
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 23 of 29



       70.     Press associations have already registered public support of Karem and disapproval

of Defendants’ suspension of Karem’s hard pass. The White House Correspondents’ Association

stated on August 17, “The WHCA is deeply concerned about a decision by the White House Press

Secretary to suspend a member’s hard pass for 30 days. Such a move could have a chilling effect

on working journalists. As we have said before, we believe everyone should conduct themselves

professionally at the White House.” After the “preliminary decision” on August 2, the Legal

Director of the Reporters Committee For Freedom Of The Press said, “The Reporters Committee

is concerned by the White House’s ‘preliminary decision’ to suspend journalist Brian Karem’s

hard pass for 30 days. The law is clear that the White House cannot suspend or revoke a journalist’s

hard pass without due process, or as a pretext to punish or silence certain reporters or news outlets

for their coverage.”

                                  FIRST CAUSE OF ACTION
                                Violation of the Fifth Amendment

       71.     Karem repeats, realleges, and incorporates the allegations in the paragraphs above

as though fully set forth herein.

       72.     Defendants’ decision to suspend Karem’s hard pass violates the Fifth Amendment

right to due process.

       73.     Karem has protected First Amendment liberty and property interests in his hard

pass and the access it affords to the White House. The hard pass allows Karem to do his job

effectively; absent his hard pass, he cannot serve as a White House correspondent.

       74.     Defendants’ suspension of Karem’s hard pass violates his right to due process

because, in the absence of pre-existing, published, explicit, and meaningful standards, there was

no fair notice of the conduct that could subject Karem or any other reporter to the punishment of

a hard pass suspension or revocation.



                                                 23
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 24 of 29



       75.     The unwritten but purportedly “widely-shared understandings” on which

Defendants relied are unconstitutionally vague on their face, and therefore cannot justify the

suspension of any reporter’s hard pass.

       76.     Defendants did not provide Karem an opportunity to be heard before making the

“preliminary decision” to suspend his hard pass. The decision was improperly predetermined, as

Grisham sought and obtained presidential approval for the sanction before even notifying Karem

of the charge, let alone hearing his defense. Defendants provided no neutral arbitrator to determine

whether Karem should be stripped of his hard pass. And in making their “final decision,”

Defendants refused to share with Karem all of the purported evidence on which they relied, thus

depriving him of a fair opportunity to respond to and rebut that evidence.

       77.     As a result of Defendants’ actions, Karem has suffered and continues to suffer

irreparable harm.

                                 SECOND CAUSE OF ACTION
                                Violation of the First Amendment

       78.     Karem repeats, realleges, and incorporates the allegations in the paragraphs above

as though fully set forth herein.

       79.     Defendants’ decision to suspend Karem’s hard pass violates the First Amendment

in at least six ways: (i) there is no “compelling reason” to suspend Karem’s hard pass; (ii) as

unconstitutional viewpoint discrimination; (iii) as an unconstitutional restriction on Karem’s right

of access to the limited public forum areas of the White House that have long been held open to

bona fide journalists who reside in Washington, D.C., and who pass Secret Service background

checks; (iv) as an unconstitutional restriction on Karem’s rights under the First Amendment’s

guarantee of freedom of the press; (v) as unconstitutional retaliation for activity protected under




                                                24
         Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 25 of 29



the First Amendment; and (vi) as a retroactive penalty imposed as a result of unconstitutionally

vague standards that serve only to chill First Amendment activity.

       80.     Karem’s access to the White House, his coverage of the July 11, 2019 press event,

and his questions to President Trump before, during, and after that event are and were all protected

activities under the First Amendment of the United States Constitution.

       81.     Defendants have deprived Karem of his right to freely access the White House

grounds by suspending his White House hard pass. Without that hard pass, Karem cannot freely

access the White House and cannot effectively serve as a White House correspondent.

       82.     Defendants’ explanations for impeding Karem’s First Amendment rights are

pretextual, disproved by the numerous videos of the July 11 event, and cannot justify the

suspension of Karem’s hard pass. The videos of the July 11, 2019 event confirm that Karem

neither “insulted” anyone, nor “verbally accosted Mr. Gorka in an attempt to escalate [his] verbal

taunts to a physical confrontation,” nor “disobey[ed] instructions from White House staff,” as the

White House alleged, thus refuting the factual bases on which Defendants’ decision was made.

Consequently, the only reasonable inference from Defendants’ conduct is that they have suspended

Karem’s hard pass as a form of content- and viewpoint-based discrimination and in retaliation for

Karem’s exercise of protected First Amendment activity.

       83.     The sole justification for Defendants’ conduct is their dislike for Karem’s

questioning and coverage of the Administration and critique of the President.           But that is

insufficient to justify such a substantial restriction on Karem’s First Amendment rights.

       84.     As a result of Defendants’ actions, Karem has suffered and continue to suffer

irreparable harm.




                                                25
          Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 26 of 29



                                 THIRD CAUSE OF ACTION
                                  Damages Pursuant to Bivens
                       (Against Defendants in Their Individual Capacities)

        85.      Karem repeats, realleges, and incorporates the allegations in the paragraphs above

as though fully set forth herein.

        86.      Karem has constitutionally protected rights under the First and Fifth Amendments.

Defendants infringed upon those rights by restricting Karem’s ability to gather and report the news;

by unconstitutionally limiting Karem’s right to access areas of the White House open generally to

bona fide members of the press who pass background checks; by attempting to suppress and chill

Karem’s speech; and by stripping Karem of property and liberty interests without due process of

law.

        87.      Defendants are federal actors who each acted under color of law in depriving Karem

of his rights.

        88.      Both President Trump and Grisham were personally involved in the deprivation of

Karem’s constitutional rights and remain involved in the continued constitutional violations.

        89.      Defendant Grisham signed the August 2, 2019 letter announcing the preliminary

decision to suspend Karem’s press credentials. In that letter, she stated that President Trump

“concurs” in her preliminary decision.

        90.      Defendant Grisham signed the August 16, 2019 letter announcing the “final

determination” to suspend Karem’s hard pass for 30 days.

        91.      Karem lacks a statutory cause of action by which he could achieve monetary

compensation for these harms, and Defendants are not immune from liability to remedy their

patently unconstitutional conduct—conduct prohibited by clearly established governing law.

F.C.C. v. Fox Television, 567 U.S. 239 (2012); Sherrill v. Knight, 569 F.2d 124, 129 (D.C. Cir.




                                                 26
             Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 27 of 29



1977); CNN v. Trump, No. 1:18-cv-02610-TJK, Dkt. 22 (Tr. of Motion Hearing) (D.D.C. Nov. 16,

2018).

            92.    Karem has suffered and continues to suffer damages in an amount to be determined

at trial.

            93.    Karem is therefore entitled to monetary damages pursuant to Bivens v. Six Unknown

Named Agents of Federal Bureau of Narcotics, 403 U.S. 388 (1971).

                                   FOURTH CAUSE OF ACTION
                               Ultra Vires (Against Defendant Grisham)

            94.    Karem repeats, realleges, and incorporates the allegations in the paragraphs above

as though fully set forth herein.

            95.    Grisham’s “final determination” to suspend Karem’s hard pass was made without

legal authority and was therefore ultra vires.

            96.    Executive branch officials such as Grisham may only exercise power granted by

Congress or delegated by the President.

            97.    There is no statutory or regulatory authorization for the White House Press

Secretary to suspend hard passes, and the President has not delegated such authority.

            98.    The only delegation of power regarding control of access to hard passes is that made

to the Secret Service under Title 31, Part 409 of the Code of Federal Regulations.

            99.    As a result of Grisham’s actions, Karem has suffered and continues to suffer

irreparable harm.

                                       PRAYER FOR RELIEF

            WHEREFORE, Karem respectfully requests that the Court enter each of the following

forms of relief:




                                                    27
 Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 28 of 29



          a.    Immediate restoration of Karem’s hard pass so that he may continue to

report from White House briefings and perform his job on White House grounds and at

other presidential events;

          b.   In the alternative, immediate restoration of Karem’s hard pass pending

“due process,” including but not limited to an opportunity for Karem to be heard before a

neutral arbiter, and a final written decision;

          c.   A declaration that the suspension of Karem’s hard pass was

unconstitutional, in violation of the First Amendment and the Due Process Clause of the

Fifth Amendment;

          d.   A declaration that the suspension of Karem’s hard pass was ultra vires;

          e.   Damages in an amount to be proved at trial, including but not limited to

punitive damages; and

          f.   An order granting Karem costs, fees, and disbursements incurred in

connection with these proceedings and such further relief as this Court deems just and

proper.

                                  JURY DEMAND

Karem hereby demands a jury trial.




                                          28
Case 1:19-cv-02514-KBJ Document 1 Filed 08/20/19 Page 29 of 29
Case 1:19-cv-02514-KBJ Document 1-1 Filed 08/20/19 Page 1 of 2
Case 1:19-cv-02514-KBJ Document 1-1 Filed 08/20/19 Page 2 of 2
